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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                        Plaintiff,
vs.                                                         Cause No. 1:17-cr-3246-MV

CHANTE BICKHAM,

                        Defendant.

             STIPULATED ORDER MODIFYING CONDITIONS OF RELEASE

          THIS MATTER, having come before the Court on a Stipulation by the Parties, and

having considered the request, hereby ORDERS as follows:


      1. Defendant Bickham may reside at her new residence previously approved by Officer
         Daniel Stewart.

      2. Ms. Bickham may reside with her 8 year old son, Azai D. Bickham. Ms. Bickham may
         also reside with her daughter, who will be born later this month.

      3. Pre-Trial services Officer Daniel Stewart and AUSA Letitia Carroll Simms stipulate to
         these changes in Ms. Bickham’s conditions of release.

      4. All other previously imposed conditions remain in place.




                                                     ___________________________
                                                     Honorable Martha Vazquez
                                                     United States District Judge




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